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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ERIC DEWAYNE CATHEY,                  §
                                      §
                    Petitioner,       §
                                      §
vs.                                   § CIVIL ACTION NO. 4:15-CV-2883
                                      §
                                      § *** DEATH PENALTY CASE ***
                                      §
BOBBY LUMPKIN, Director,              §
Texas Department of Criminal Justice, §
Correctional Institutions Division,   §
                                      §
                    Respondent.       §
_____________________________________

  PETITIONER CATHEY’S REPLY TO RESPONDENT LUMPKIN’S
RESPONSE TO PETITIONER’S OPPOSED MOTION FOR SCHEDULING
          ORDER AND LEAVE TO AMEND PETITION

       Petitioner Eric Dewayne Cathey replies to Respondent’s Response to

Petitioner’s Opposed Motion for Scheduling Order and Leave to Amend Petition,

Dkt. 46. First, Petitioner respectfully concedes that the twenty-one day window to

amend his Petition as “a matter of course” under Federal Rule of Civil Procedure

15(a)(1) has elapsed and accordingly withdraws any related arguments.1



1
  Respondent states “Contrary to [Petitioner’s] assertion, the Director has filed a response in this
case. See ECF No. 9.” While Petitioner disagrees that Respondent’s Motion to Dismiss with Brief
in Support, Dkt. 9, is a “responsive pleading,” Petitioner nevertheless will agree that Respondent’s
Rule 12(b)(6) motion, filed over six years ago and before the case was reheard in state court, would
cut off a right to amend that petition “as a matter of course” twenty-one days after the filing of that
motion. See Fed. R. Civ. P. 15(a)(1).
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       Nonetheless, Respondent fails to show how granting Petitioner leave to amend

his Petition under Federal Rule of Civil Procedure 15(a)(2), which was filed over six

years ago and before Petitioner was allowed to have his case reheard in state court,

would “disregard the explicit directives” of the Fifth Circuit. Dkt. 1; Dkt. 46. The

Fifth Circuit directed this Court to determine whether the Petition meets 28 U.S.C.

§ 2244(b)’s requirements for filing a successive habeas petition prior to reaching

the merits of his underlying Atkins claim. See In re Cathey, 857 F.3d 221, 226 (5th

Cir. 2017) (“the district court must dismiss the motion that we have allowed the

applicant to file, without reaching the merits of the motion, if the court finds that the

movant has not satisfied the requirements for the filing of such a motion”) (quoting

Bennett v. U.S., 119 F.3d 468, 470 (7th Cir. 1997) (citations omitted)).2

       Petitioner does not ask this Court to reach the merits of his Atkins claim before

resolving the question of whether he has satisfied the requirements of 28 U.S.C. §

2244(b). Petitioner merely requests the opportunity to update the Court regarding

the state court proceedings occurring subsequent to the Court’s stay of this case and



2
  Somewhat confusingly, the Bennett court explains what must be done by district courts prior to
reaching the merits of a “motion.” However, the Bennett court was directing the district court to
determine whether a “motion under 28 U.S.C. § 2255 for postconviction relief” met the
requirements of 28 U.S.C. § 2244(b) for filing a successive habeas petition. See Bennett, 119 F.3d
at 469 (“we have thought it helpful to make clear that we will use the ‘prima facie showing’
standard of section 2244 to evaluate applications for permission to file second or successive
motions under section 2255 as well, despite the different wording of that section.”). Thus, for
purposes of applying the quote from Bennett, the Petition should be treated the same way as
motions filed under 28 U.S.C. § 2255.
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to ensure the Petition meets the heightened pleading requirements of Habeas Rule

2(c). Thus, amendment under Rule 15 would not be “inconsistent with AEDPA” as

Respondent suggests. Dkt. 46. The Court need only resolve the question whether

“justice so requires” granting Petitioner leave to amend his almost seven-year-old

Petition. Fed. R. Civ. P. 15(a)(2). If so, the Court should “freely give leave” to

amend. Id.

      In summary, Petitioner asks this Court to grant Petitioner’s Opposed Motion

for Scheduling Order and Leave to Amend Petition, which would (1) comply with

the Fifth Circuit’s instructions, (2) allow Petitioner to satisfy the heightened pleading

standard of Habeas Rule 2(c), and (3) give Petitioner the opportunity to apprise this

Court of the events that occurred in state court while the proceedings in this Court

were stayed and administratively closed.
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                                         Dated: May 16, 2022

                                         Respectfully submitted,

                                         /s/ Layne E. Kruse
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                          CERTIFICATE OF SERVICE

      I certify that on May 16, 2022 a copy of the foregoing motion was served via

PACER/ECF upon opposing counsel identified below. Counsel consented in

writing to electronic service.

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                                         /s/ Layne E. Kruse
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